         Case 8:05-cr-00031-SDM-TGW Document 77 Filed 08/29/06 Page 1 of 8 PageID 217
                            -
A 0 2458 (Rev 06/05) Sheet 1 Judgment in a Criminal Case



                                UNITED STA TES DISTRICT COURT
                                                           MIDDLE DISTRICT OF FLORIDA
                                                                TAMPA DIVISION



UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                                                    CASE NUMBER: 8:05-cr-31-T-23TGW
                                                                    USM NUMBER: 75471-004



MARIA LERINA PINEDA
                                                                     Defendant's Attorney: Gregg S. Lerrnan, ret

THE DEFENDANT:

-
X pleaded guilty to count ONE of the Indictment.


TITLE & SECTION                          NATURE OF OFFENSE                            OFFENSE ENDED                     COUNT

21 U.S.C. $5 846, 841(a)(l),             Conspiracy to Distribute and Possess         August 10, 2004                   ONE
and 841(b)(l)(A)(viii)                   With Intent to Distribute 50 Grams or
                                         More of Methamphetamine and 500
                                         Grams or More of a Mixture Containing
                                         Methamphetamine

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

X Counts THREE and FOUR are dismissed in accordance with the plea agreement.
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                      Date of Imposition of Sentence: August 28, 2006




                                                                                           STEVEN D. MERRYDAY                           J

                                                                                      UNITED STATES DISTRICT JUDGE

                                                                                      DATE: August    m,       2006
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A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:           MARIA LERINA PINEDA                                                                  Judgment - Page 2of 6
Case No. :           8 :05-cr-31-T-23TGW

                                                                IMPRISONMENT

                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of FIFTY-SEVEN (57) MONTHS as to count one of the Indictment.




 X The court makes the following recommendations to the Bureau of Prisons: incarceration at a correctional facility in
Southern California.



-
X The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this district.
           - at -a.rn./p.m. on -.
           - as notified by the United States Marshal.
-The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
           - before 2 p.m. on    -.
           - as notified by the United States Marshal.
           - as notified by the Probation or Pretrial Services Office.



                                                                        RETURN

           I have executed this judgment as follows:




           Defendant delivered on                                                to

- at                                                                             , with a certified copy of this judgment.



                                                                                        United States Marshal


                                                                                        Deputy United States Marshal
          Case 8:05-cr-00031-SDM-TGW Document 77 Filed 08/29/06 Page 3 of 8 PageID 219
A 0 2458 (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:            MARIA LERINA PINEDA                                                                         Judgment - Page 3of 6
Case No. :            8:05-cr-3 1-T-23TGW
                                                              SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (60) MONTHS as to count
one of the Indictment.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 8 921.

           The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
           two periodic drug tests thereafter, as determined by the court.

           The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

           The defendant shall cooperate in the collection of DNA as directed by the probation officer.

           If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
           the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;

           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
           month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

           the defendant shall support his or her dependents and meet other family responsibilities;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           fclony, unlcss granted permission to do so by the probation officer;

           the defendant shall permit a probation officer to visit him or her at any time at home or elscwhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;

           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

           as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
           with such notification requirement.
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A 0 245B [Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:            MARIA LERINA PINEDA                                                               Judgment - Page 4 of 6
Case No. :            8:05-cr-31-T-23TGW
                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:


-
X          The defendant shall participate in a program (outpatient andlor inpatient) for treatment of narcotic addiction or drug or alcohol
           dependency and follow the probation officer's instructions regarding the implementation of this court directive. This program
           may include testing for the detection of substance use or abuse not to exceed an amount determined reasonable by the
           Probation Office's Sliding Scale for Substance Abuse Treatment Services. Upon completion of a drug or alcohol dependency
           treatment program, the defendant is directed to submit to testing for the detection of substance use or abuse not to exceed 104
           times per year.

-
X          If the defendant is deported, she shall not re-enter the United States without the express permission of the appropriate
           governmental authority, currently the United States Department of Homeland Security.
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A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:           MARIA LERINA PINEDA                                                                       Judgment - Page 5 of 6
Case No. :           8:05-cr-31-T-23TGW

                                                 CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .
                                Assessment                                 -
                                                                           Fine                         Total Restitution

           Totals:                                                         $ waived


-          The determination of restitution is deferred until                   .     An Amended Judgment in a Criminal Case ( A 0 245C) will
           be entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 5
           3664(i), all non-federal victims must be paid before the Ynited States.


Name of Payee                                         Total Loss*                     Restitution Ordered              Priority or Percentage




                                Totals:

 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fme is paid in full
            before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 36 12(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U. S .C. 8 36 12(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the - fine                    - restitution.
           -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 110A, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
          Case 8:05-cr-00031-SDM-TGW Document 77 Filed 08/29/06 Page 6 of 8 PageID 222
A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:           MARIA LERINA PINEDA                                                             Judgment - Page 6of 6
Case No. :           8:05-cr-31-T-23TGW



                                                          SCHEDULE OF PAYMENTS



 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

             X        Lump sum payment of $ 100.00 due immediately, balance due
                                 -not later than                         , Or
                                 -in accordance - C, - D, - E or - F below; or
           -          Payment to begin immediately (may be combined with -C, -D, or -F below); or
           -          Payment in equal                   (e.g ., weekly, monthly, quarterly) installments of $              over a
                      period of          (e .g ., months or years), to commence               days (e.g ., 30 or 60 days) after the
                      date of this judgment; or
           -          Payment in equal                 (e .g., weekly, monthly, quarterly) installments of $              over a
                      period of
                                   , (e.g ., months or years) to commence                      (e.g. 30 or 60 days) after release
                      from imprisonment to a term of supervision; or
           -          Payment during the term of supervised release will commence within                          (e.g., 30 or
                      60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                      the defendant's ability to pay at that time, or
           -          Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
  enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
 bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
 -         Joint and Several
         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
 Several Amount, and corresponding payee, if appropriate:


 -         The defendant shall pay the cost of prosecution.
 -         The defendant shall pay the following court cost(s):
 X
 -         The defendant shall forfeit the defendant's interest in the following property to the United States:
           One White 1996 Ford Windstar Van, Florida license tag number J60XSN, vehicle identification number
           2FMDA5 14XTBB60625, used to facilitate the distribution of methamphetamine durin the char ed cons iracy and
           $90,000.00 USD. pursuant to the "Preliminary Order of Forfeiture and Forfeiture doney Ju gment ( oc. 65)
           attached.
                                                                                                                   f         6
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

      UNITED STATES OF AMERICA,

              Plaintiff,

      v.                                         :   Case No. 8:05-cr-31 -T-23TGW

      MARIA LERINA PINEDA,

              Defendant.


                           PRELIMINARY ORDER OF FORFEITURE AND
                               FORFEITURE MONEY JUDGMENT

              THIS CAUSE comes before the Court upon the filing of the United States'

      Motion for entry of a Preliminary Order of Forfeiture and Forfeiture Money Judgment,

      which, upon entry, shall be a final order of forfeiture as to defendant Maria Lerina

      Pinedals right, title, and interest in property subject to forfeiture. The Court hereby finds

      that the United States has established the requisite nexus between the asset listed

      below and the drug conspiracy to which defendant Maria Lerina Pineda pled guilty

      pursuant to 21 U.S.C. § 846, as charged in Count One of the lndictment:

                      One White 1996 Ford Windstar Van, Florida license tag
                      number JGOXSN, vehicle identification number
                      2FMDA514XTBB60625, used to facilitate the distribution of
                      methamphetamine during the charged conspiracy.

              The Court further finds that $90,000.00 is the amount proceeds the defendant

      obtained as a result of her participation in the conspiracy to distribute and possess with

      intent to distribute methamphetamine to which defendant Maria Lerina Pineda pled

      guilty in Count One of the lndictment. Therefore, the assets are subject to forfeiture

      pursuant to 21 U.S.C. § 853. Accordingly, it is hereby
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         ORDERED, ADJUDGED and DECREED that the United States' motion is

   GRANTED.

          It is FURTHER ORDERED that all right, title and interest of defendant Maria

   Lerina Pineda in the asset identified below are hereby condemned and forfeited to the

   United States for disposition according to law, subject to the provisions of

   21 U.S.C. 5 853:

                 One White 1996 Ford Windstar Van, Florida license tag
                 number JGOXSN, vehicle identification number
                 2FMDA514XTBB60625, used to facilitate the distribution of
                 methamphetamine during the charged conspiracy.

          It is FURTHER ORDERED that defendant Maria Lerina Pineda is personally

   liable to the United States of America for a forfeiture money judgment in the

   amount of $90,000.00 USD.

          The Court shall retain jurisdiction to enter any orders necessary for the forfeiture

   and disposition of the asset, and to entertain any third party claims that may be asserted

   in these proceedings.

          DONE and ORDERED in Chambers in Tampa. Florida, this           Im day of


                                             HON. STEVEN D. MERRYDAY
                                             UNITED STATES DISTRICT JUDGE

   Copies to: Adelaide G. Few, AUSA
              Attorneys of Record
